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 4
     Attorney for Defendant, PAUL WHITMORE
 5
 6                          UNITED STATES DISTRICT COURT
 7                         EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,   )                CASE NO: CRF-02-5301 OWW
                                 )
10            Plaintiff,         )
                                 )                STIPULATION AND ORDER
11        v.                     )                TO CONTINUE HEARING AND
                                 )                RESET BRIEFING SCHEDULE
12   PAUL WHITMORE,              )
                                 )
13            Defendant.         )
     ____________________________)
14
           The parties hereto, by and through their respective attorneys, stipulate and
15
     agree that the hearing scheduled for October 10, 2006, be continued until
16
     October 30, 2006 at 1:30 p.m. in the above-entitled court.
17
           Moving papers to be filed on behalf of defendant must be submitted to the
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     court by October 13, 2006. Government’s response must be submitted to the
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     court by October 27, 2006.
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           This continuance is necessitated by ongoing investigation being conducted
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     by defense counsel to obtain information necessary to support Mr. Whitmore’s
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     motion to vacate his Waiver of Jury Trial.
23
24
     DATED: September 29, 2006           /s/ David Gappa
25                                       DAVID GAPPA
                                         Assistant United States Attorney
26                                       This was agreed to by Mr. Gappa
                                         via telephone, on September 29, 2006
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 1   DATED: September 29, 2006          /s/ Roger K. Litman
                                        ROGER K. LITMAN
 2                                      Attorney for Defendant
                                        PAUL WHITMORE
 3
 4
 5                                       ORDER
 6        The court having considered the stipulation of the parties and GOOD CAUSE
 7   APPEARING, the court now orders that the hearing currently scheduled for October
 8   10, 2006, be continued to October 30, 2006 at 1:30 p.m.
 9   IT IS SO ORDERED.
10   Dated: October 3, 2006                 /s/ Oliver W. Wanger
     emm0d6                            UNITED STATES DISTRICT JUDGE
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